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              IN THE UNITED STATES DISTRICT COURT
             FOR THE NORTHERN DISTRICT OF GEORGIA
                        ATLANTA DIVISION


UNITED STATES SECURITIES
AND EXCHANGE COMMISSION,
                                                      Civil Action No.
                    Plaintiff,                       1:21-cv-3413-SDG

v.

JOHN J. WOODS, et al.,

                     Defendants.

                                     ORDER

      This matter came before the Court on the Consent Motion for Extension of

Time to Complete Initial Accounting (the “Motion”) filed by A. Cotten Wright, the

receiver in this case (the “Receiver”), through counsel. In the Motion, the Receiver

requested an extension of 60 days, to through and including April 29, 2022, for the

completion and submission of the Initial Accounting required by the Order

Appointing Receiver entered on September 1, 2021 (Doc. No. 26, pg. 27).

      Given that the SEC consents to the requested relief, and for good cause shown,

the Motion is GRANTED.
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      IT IS HEREBY ORDERED that the Receiver and her accountant shall have

through and including April 29, 2022 to complete and submit the Initial Accounting

required by the Order Appointing Receiver.

      IT IS SO ORDERED, this 28th day of February, 2022.



                                             STEVEN D. GRIMBERG
                                             UNITED STATES DISTRICT JUDGE




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